Case 2:21-cv-05222-KSM Document 1-3 Filed 11/24/21 Page 1 of 20




                   Exhibit A
                    (Plaintiff’s Complaint)
Case 2:21-cv-05222-KSM Document 1-3 Filed 11/24/21 Page 2 of 20
Case 2:21-cv-05222-KSM Document 1-3 Filed 11/24/21 Page 3 of 20
Case 2:21-cv-05222-KSM Document 1-3 Filed 11/24/21 Page 4 of 20
Case 2:21-cv-05222-KSM Document 1-3 Filed 11/24/21 Page 5 of 20
Case 2:21-cv-05222-KSM Document 1-3 Filed 11/24/21 Page 6 of 20
Case 2:21-cv-05222-KSM Document 1-3 Filed 11/24/21 Page 7 of 20
Case 2:21-cv-05222-KSM Document 1-3 Filed 11/24/21 Page 8 of 20
Case 2:21-cv-05222-KSM Document 1-3 Filed 11/24/21 Page 9 of 20
Case 2:21-cv-05222-KSM Document 1-3 Filed 11/24/21 Page 10 of 20
Case 2:21-cv-05222-KSM Document 1-3 Filed 11/24/21 Page 11 of 20
Case 2:21-cv-05222-KSM Document 1-3 Filed 11/24/21 Page 12 of 20
Case 2:21-cv-05222-KSM Document 1-3 Filed 11/24/21 Page 13 of 20
Case 2:21-cv-05222-KSM Document 1-3 Filed 11/24/21 Page 14 of 20
Case 2:21-cv-05222-KSM Document 1-3 Filed 11/24/21 Page 15 of 20
Case 2:21-cv-05222-KSM Document 1-3 Filed 11/24/21 Page 16 of 20
Case 2:21-cv-05222-KSM Document 1-3 Filed 11/24/21 Page 17 of 20
Case 2:21-cv-05222-KSM Document 1-3 Filed 11/24/21 Page 18 of 20
Case 2:21-cv-05222-KSM Document 1-3 Filed 11/24/21 Page 19 of 20
Case 2:21-cv-05222-KSM Document 1-3 Filed 11/24/21 Page 20 of 20
